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              EXHIBIT 7
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                                                                  Customer Service 1-800-955-7070                                               Feb. 17 - Mar. 16, 2015         28 Days in Billing Cycle
                                                                           www.capitalone.com
                                                                                                              MINIMUM PAYMENT WARNING: If you make only the minimum payment each period, you
                                                                                                              will pay more in interest and it will take you longer to pay off your balance. For example:
   Visa Signature                                                                Account ending in 5243
                                                                                                              Payment Amount Each Period If No Approximate Time to Pay Off                  Estimated
      NEW BALANCE                        MINIMUM PAYMENT                             DUE DATE                 Additional Charges Are Made          Statement Balance                        Total Cost
                                                                                                              Minimum Payment                                    21 Years
         $                                         $                                Apr 13, 2015
                                                                                                              $228                                                3 Years                     $

                                         PLEASE PAY AT LEAST THIS AMOUNT
                                                                                                              Your estimated savings if you pay off this balance in 3 years:                 $

   Revolving Credit Limit: $                                       Cash Advance Credit Limit: $               If you would like information about credit counseling services, call 1-888-326-8055.

   Available Revolving Credit: $                         Available Credit for Cash Advances:$                 LATE PAYMENT WARNING: If we do not receive your minimum payment by your due date,
                                                                                                              you may have to pay a late fee of up to $35 00 and your APRs may be increased up to the
                                                                                                              Penalty APR of 29.40%.


    Previous Balance                      Payments and Credits                     Fees and Interest Charged                             Transactions                               New Balance
         $                         _                                         +                    $0.00                                                              =                 $
                                                                                                                       +


    TRANSACTIONS                                                                                             REWARDS INFORMATION
    PAYMENTS, CREDITS & ADJUSTMENTS FOR CHRIS CRANE #5243                                                   PREVIOUS AVAILABLE REWARDS BALANCE                                                       $
    1                                                                                                       REWARDS EARNED THIS PERIOD
    2
                                                                                                            (reflects transactions posted during this billing cycle)
                                                                                                            REDEEMED THIS PERIOD                                                                  ($
    TRANSACTIONS FOR CHRIS CRANE #5243                                                                      AVAILABLE BALANCE AS OF 03/16/2015
    1
    2
    3                                                                                                       For up-to-date rewards tracking, visit
    4                                                                                                       www.capitalone.com
    5                                                                                                       or simply call 1-800-228-3001
    6   19 FEB CIRCLE INTERNET FINANCIAL617-3268326MA                               $102.90
    7
    8                                                                                                     INTEREST CHARGE CALCULATION
    9
    10                                                                                                    Your Annual Percentage Rate (APR) is the annual interest rate on your account.
    11                                                                                                                           Annual Percentage          Balance Subject to
                                                                                                          Type of Balance                                                             Interest Charge
    12                                                                                                                              Rate (APR)                Interest Rate
    13                                                                                                    Purchases                   0.00%                 $                              $0.00
    14                                                                                                    Cash Advances              24.90% P                  $0.00                       $0.00
                                                                                                          P,L,D,F = Variable Rate. See reverse of page 1 for details
    Transactions continue on page 2

                  PLEASE RETURN PORTION BELOW WITH PAYMENT OR LOG ON TO WWW.CAPITALONE.COM TO MAKE YOUR PAYMENT ONLINE.

                                                                            1 4147099809235243 16 6451590050000064003

                                       Account ending in 5243
  Due Date                New Balance               Minimum Payment              Amount Enclosed

Apr 13, 2015              $                               $                                 .
                                                    PLEASE PAY AT LEAST
                                                       THIS AMOUNT



     CHRIS CRANE
                                                                                                                     Capital One Bank (USA), N.A.
                                                                                                                     P.O. Box 60599
                                                                                                                     City of Industry, CA 91716-0599




                                                                                  1 4147099809235243 16 6451590050000064003
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                                                       Netbank


                                                                             Printed by customer on 12.10.2015 07:02:26 GMT +3




  Account transactions
  Visa Electron purch.
  From account:
  Card number:                      4920 **** **** 1377
  Remitter:                         MONDESIRE DANIEL OLAVI
  Beneficiary:                      GAW MINERS
  Amount:                           4.774,85­ EUR
  Payment date:                     13.10.2014
  Reference number:                 141009603073
  Message:                          USD 5.866,00 8665545861
                                    KURSSI: 1,2285
  Entry date:                       13.10.2014
  Value date:                       13.10.2014
  Archive ID:                       141013258875BA6192




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                                                       Netbank


                                                                            Printed by customer on 12.10.2015 07:03:50 GMT +3




  Account transactions
  Visa Electron purch.
  From account:
  Card number:                     4920 **** **** 1377
  Remitter:                        MONDESIRE DANIEL OLAVI
  Beneficiary:                     GAW MINERS
  Amount:                          2.905,91­ EUR
  Payment date:                    13.10.2014
  Reference number:                141010603077
  Message:                         USD 3.561,50 8665545861
                                   KURSSI: 1,2256
  Entry date:                      13.10.2014
  Value date:                      13.10.2014
  Archive ID:                      141013258875DO1628




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                                                       Netbank


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  Account transactions
  Visa Electron purch.
  From account:
  Card number:                     4920 **** **** 1377
  Remitter:                        MONDESIRE DANIEL OLAVI
  Beneficiary:                     GAW MINERS
  Amount:                          16,82­ EUR
  Payment date:                    26.09.2014
  Reference number:                140924603017
  Message:                         USD 20,95 8665545861
                                   KURSSI: 1,2455
  Entry date:                      26.09.2014
  Value date:                      26.09.2014
  Archive ID:                      140926258875AR7156




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                                                       Netbank


                                                                             Printed by customer on 12.10.2015 07:23:57 GMT +3




  Account transactions
  Visa Electron purch.
  From account:
  Card number:                     4920 **** **** 1377
  Remitter:                        MONDESIRE DANIEL OLAVI
  Beneficiary:                     GAW MINERS
  Amount:                          16,96­ EUR
  Payment date:                    29.09.2014
  Reference number:                140926603024
  Message:                         USD 20,95 8665545861
                                   KURSSI: 1,2353
  Entry date:                      29.09.2014
  Value date:                      29.09.2014
  Archive ID:                      140929258875GV6224




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